                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                               WINCHESTER DIVISION

                                            )
  PHONEUS, LLC,                             )
                                            )
          Plaintiff / Counter-Defendant,    )
                                            )       Civil No.: 4:10-cv-00091
  v.                                        )
                                            )       Judge Mattice
  HIGHWAY GAMES, LLC,                       )
                                            )
        Defendant / Counter-Claimant.       )
  ___________________________________       )




                                 STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff PhoneUS,

  LLC and Defendant Highway Games, LLC, being all of the parties to this action,

  hereby stipulate: 1) to the dismissal of this action, and all claims and counterclaims

  herein, without prejudice, and 2) that each party shall bear its own discretionary

  costs as defined by Federal Rule of Civil Procedure 54 and attorney’s fees.


  Respectfully submitted this 13th day of July, 2012.


                                           By: /s/ Mark J. Patterson
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Case 4:10-cv-00091-HSM-WBC Document 29 Filed 07/13/12 Page 1 of 3 PageID #: 138
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                                     2
Case 4:10-cv-00091-HSM-WBC Document 29 Filed 07/13/12 Page 2 of 3 PageID #: 139
                                CERTIFICATE OF SERVICE

         I hereby certify that on July 13, 2012, the foregoing document was electronically filed

  using the Court’s CM/ECF system causing a notice of electronic filing to be sent to the

  following:

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                                                    /s/ Mark J. Patterson
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                                     3
Case 4:10-cv-00091-HSM-WBC Document 29 Filed 07/13/12 Page 3 of 3 PageID #: 140
